%AO 245B (Rev. 12/03) Judgment in a Criminal Case
NCED Sheet l

UNITED STATES DISTRICT COURT

Eastern

UNITED STATES OF AMERICA
V.

STEPHAN|E L. SM|TH

THE DEFENDANT:
d pleaded guilty to count(s) 1

l:l pleaded nolo contendere to count(s)

District of

North Carolina
JUDGMENT IN A CRIMINAL CASE

Case Number: 5:09-M-1735
USM Number:
FPD

Defendant’s Attomey

 

which was accepted by the court.

\:l was found guilty on count(s)

 

after a plea of not guilty.
The defendant is adjudicated guilty of these offenses:

Title & Section Nature of Offense

 

 

18:13-7210 LEVEL 5 DWl

The defendant is sentenced as provided in pages 2 through

the Sentencing Reform Act of 1984.
l:l The defendant has been found not guilty on count(s)

Offense Ended Count

 

3/25/2009 1

5 of this judgment. The sentence is imposed pursuant to

 

[:l Count(s) [j is

[] are dismissed on the motion of the United States.

_ . lt is ordered that th_e defendant must notify the United States attorney for this district within 30 da s of any change of name, residence,
or mailing address until all tines, restitution, costs, and special assessments imposed by this judgment are fu ly paid. lf ordered to pay restitution,

the defendant must notify the court and United States attorney o

Sentencing Location:

FAYETTEV|LLE, NC

 

f material changes in economic circumstances

9/15/2009

Date of lmposition of Judgment

  

 

 

Sign tur ofJudge \/ \\

JAMES E GATES, UN|TED STATES MAG|STRATE JUDGE

 

Name and Title of .ludge

ga ;WS'~Q»-Q@~°‘i

Date

AO 245B (Rev. 12/03) Judgment in a Criminal Case
NCED Sheet 4-Pr0bation

Judgment-Page _2__ of ___5___

DEFENDANT! STEPHAN|E L. SM|TH
CASE NUMBER: 5;09-|\/|_1735

PROBATION

The defendant is hereby sentenced to probation for a term of :
1 YEAR
The defendant shall not commit another federal, state or local crime.

The defendant shall not unlawfully possess a controlled substance The defendant shall refra_in from an unlawful u_se of a controlled
substance The defendant shall submit to one drug test within 15 days of placement on probation and at east two periodic drug tests
thereafter, as determined by the court

|:] The above drug testing condition is suspended, based on the court’s determination that the defendant poses a low risk of
future substance abuse. (Check, if applicable.)

l:| The defendant shall not possess a firearm, destructive device, or any other dangerous weapon. (Check, if applicable.)
l:] The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)

E The defendant shall register with the state sex offender registration agency in the state where the defendant resides works, or is a
student, as directed by the probation officer. (Check, if applicable.)

[:l The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)

lfthishiudgment_ imposes a fine or restitution, it is a condition of probation that the defendant pay in accordance with the Schedule of
Payments s eet of this judgment

The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional conditions
on the attached page.

STANDARD CONDITIONS OF SUPERVISION

l. Tthfe defendant shall not leave the judicial district or other specified geographic area without the permission of the court or probation
o icer.

2. The defendant shall report to the probation officer as directed by the court or probation officer and shall submit a truthful and
complete written report within the first five (5) days of each month.

3. 'l`he defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer.
4. The defendant shall support the defendant’s dependents and meet other family responsibilities

5. The defendant shall work regularly at a lawful occupation unless excused by the probation officer for schooling, training, or other
acceptable reasons

6. The defendant shall notify the probation officer at least then (10) days prior to any change of residence or employment

7. The defendant shall refrain from excessive use of alcohol and shall not purchase, possess use distribpte, or administer any controlled
substance, or any paraphernalia related to any controlled substance, except as prescribed by a physician.

8. The defendant shall not frequent places where controlled substances are illegally sold, used distributed, or administered, or other
places specified by the courtl

9. The defendant shall not associate with any persons engaged in criminal activity, and shall not associate with any person convicted of
a felony unless granted permission to do so by the pro ation officer.

10. The defendant shall permi_t a probation officer to visit the defendant at any time at home or elsewhere and shall permit confiscation of
any contraband observed in p ain view by the probation officer.

ll. Téite defendant shall notify the probation officer Within seventy-two (72) hours of being arrested or questioned by a law enforcement
o icer.

12. The defendant shall not enter into any agreement to act as an informer or a Special agent of a law enforcement agency without the
permission of the court

13. As directed by the probation officer, the defendant shall noti third parties of ris_ks that may be occasioned by the defendant’s
criminal record or personal history or chatacter_istics, and sha l permit the probation officer to make such notifications and to confirm
the defendant’s compliance with such notification requirement

 

AO 245B (Rcv, 12/03) .ludgment in a Crimirial Case
NCED Shect 4A - Probation

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DEFENDANT: STEPHAN|E L. SM|TH
CASE NUMBER: 5209-1\/|-1 735

ADDITIONAL PROBATION TERMS

The defendant shall not incur new credit charges or open additional lines of credit without the approval of the probation
office.

The defendant shall provide the probation office with access to any requested financial information.

The defendant shall obtain a substance abuse assessment from an from an appropriate mental health facility within thirty
(30) days from the date of this judgment and complete any prescribed treatment program. The defendant must pay the
assessment fee and any added treatment fees that may be charged by the facility.

lt is further ordered that the defendant shall participate in any other Alcohol/Drug Rehabilitation and Education program
directed by the U.S. Probation Office.

The defendant shall not operate a motor vehicle on the highways of the State of North Carolina until his/her privilege to do
so is restored in accordance with the law (Effective 9/18/2009).

 

AO 2458 (Rev. 12/03) Judgmeiit in a Crimiiial Case
NCED Sheet 5 _ Criminal Monetary Penalties

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DEFENDANT; sTEPHANiE L. sMiTH
CASE NUMBER: 5109-M-1735
CRIMINAL MONETARY PENALTIES

The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.

 

Assessment Fine Restitution
TOTALS $ 10.00 $ 200.00 $
I:l The determination of restitution is deferred until . An Amended Judgment in a Criminal Case (AO 245C) will be entered

after such determination
l:l The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

If the defendant makes a partial payment, each pa ee shall receive an approximately lpro ortioned ayment, unless specified otherwise in
the priority or_der or percentage payment column elow. However, pursuant to 18 .S. . § 3664 i), all nonfederal victims must be paid
before the United States is paid.

Name of Payee _'l`_q_tgl__Lg§_sf Restitution Ordered Priori or Percenta e

 

TOTALS a $0.00 $0.00

 

lj[l Restitution amount ordered pursuant to plea agreement $

I:]U The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
fifteenth day after the date of the judgment pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be subject
to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

l:l The court determined that the defendant does not have the ability to pay interest and it is ordered that:
m the interest requirement is waived for the |:| fine ij restitution

ij the interest requirement for the I:l fine l:] restitution is modified as follows:

* Findings for the total amount of losses are re%uired under Chapters 109A, 1 lO, 1 10A, and l 13A of Title 18 for offenses committed on or after
September 13, 1994, but before April 23, 199 .

 

AO 245B (Rev. 12/03) Judgment in a Criminal Case
NCED Shect 6 _ Schedule of Payments

Judgment _ Page 5 of 5
DEFENDANT: STEPHAN|E L. SM|TH

CASE NUMBER: 5109-|\/1-1735

SCHEDULE OF PAYMENTS

Having assessed the defendant’s ability to pay, payment of the total criminal monetary penalties are due as follows:

 

 

A m Lump sum payment of $ due immediately, balance due
[:| not later than , or
[] in accordance [j C, |:| D, l:\ E, or |:] F below; or
B l:l Payment to begin immediately (may be combined with \:] C, l:| D, or |:\ F below); or
C [:] Payment in equal (e.g., weekly, monthly, quarterly) installments of S over a period of
(e.g., months or years), to commence (e.g., 30 or 60 days) after the date of this judgment; or
D [:] Payment in equal (e.g., weekly, monthly, quarterly) installments of $ over a period of
(e.g., months or years), to commence (e.g., 30 or 60 days) after release from imprisonment to a
term of supervision; or
E [:| Payment during the term of supervised release will commence within (e.g., 30 or 60 days) after release from
imprisonment The court will set the payment plan based on an assessment of the defendant’s ability to pay at that time; or
F M Special instructions regarding the payment of criminal monetary penalties:

BALANCE OF F|NANC|AL |IV|POS|TION DUE DUR|NG TERM OF PROBAT|ON

Unless the court has expressl ordered otherwise, if this judgment imposes imprisonment lpaylment of criminal monetary penalties is due during
imprisonment All crimina moneta penalties except those payments made throug t e Federal Bureau of Prisons’ lnmate Financia
Responsibility Program, are made to t e clerk of the court

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.

[:l Joint and Several

Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
and corresponding payee, if appropriate

l:l The defendant shall pay the cost of prosecution

l:l

The defendant shall pay the following court cost(s):

l:l The defendant shall forfeit the defendant’s interest in the following property to the United States:

Payments shall be applied in _the following order: (1? assessment (2) restitution principal, (3) restitution interest, (4) fine principal,
(5) fine interest, (6) community restitution, (7) pena ties, and (8) costs, including cost of prosecution and court costs

